Case 2:04-Cr-20017-BBD Document 364 Filed 08/09/05 Page 1 of 2 Page|D 784

 

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Fon THE wEsTERN DISTRICT oF TENNESSEE 9 *9 PH 3: 55
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n W/D UC‘H",\ iiing
UNITED STATES OF AMERICA ) ’ "‘” +"?'ff‘»'i.
)
v. )
) Crimina: No. 04-20017~£)\/
RANDE LAZAR, M.D., d/b/a )
OTOLARYNGOLOGY )
cONsULTANrS oF MEMPHls )

 

AGREED MOTION FOR EXTENSION OF TIME
The Cc)urt having been informed that the I.Jnited States and the Dcfendant are in agreement,
and the Cnurt having maturely considered the partics’ request to extend time in which to answer.
hereby orders the following

The United States shall have until September 6, 2005, to file it’s objections to the

Magistrate's `Report and Rccommendation as to `Documents 359 and 360. The Defcndanl shall

 

Approved as to form:

U’M_A/W

Assistant United States mey

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Attomey for the Defendant

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 364 in
case 2:04-CR-20017 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

